         Case 2:09-cv-02445-WBS-AC Document 593 Filed 10/09/14 Page 1 of 6

         DC?WNEY BRAND LLP                           MATHENY SEARS LINKERT &JAIME,LLP
         WILLIAM R. WARNS(SBN 141280)                RICHARD S. I~INKERT(SBN 88756)
     2   MICHAEL J. THOMAS(SBN 172326)               JULIA M. REEVES(SBN 241198)
         ANNIE S. AMARAL(SBN 238189)                 3638 American River Drive
     3   MEGHAN M. BAKER(SBN 243765)                 Sacramento, CA 95864
         621 Capitol Mall, 18th Floor                Telephone:(916)978-3434
     4   Sacramento, CA 95814-4731                   Facsimile:(916)978-3430
         Telephone:(916)444-1000
     5   Facsimile:(916)444-2100                     Attorneys For Defendants W.M. BEATY &
         bwarne@downeybrand.com                      ASSOCIATES,INC. AND ANN MCKEEVER
     6   mthomas@downeybrand.com                     HATCH,as Trustee of the Hatch 198'7 Revocable
         aamaral@downeybrand.com                     Trust, et al.
     7   mbaker@downeybrand.com

     8   BRACEWELL & GIULIANI LLP                    RUSHFORD & BONOTTO,LLP
         RICHARD W.BECKLER                           PHILLIP R. BON4TT0(SBN 109257)
     9   D.C. Bar No. 262246                         DEREK VANDEVIVER(SBN 227902)
         (Pro Hac Vice Application Pending)          1010 Hurley Way, Suite 410
    10   JENNIFER T. LIAS                            Sacramento, CA 95825
         Virginia Bar No. 85608                      Telephone:(916)565-0590
    ll   (Pro Hac Vice Application Pending)
         2000 K Street NW,Suite 500                  Attorneys for Defendant, EUNICE E. HOWELL,
    12   V~ashington, DC 20006-1809                  INDIVIDUALLY and d/b/a HOWELL'S FOREST
         Telephone:(202)828-5874                     HARVESTING
a
a   13   Facsimile: (800)404-3970
Q        richard.beckler@bgllp.eom
Q   14   jennifer.lias@bgllp.com

~   15   Attorneys for Defendant/Cross-Defendant
         SIERRA PACIFIC INDUSTRIES
z   16
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~   17
                                        UNITED STATES DISTRICT COURT
    18
                                    EASTERN DISTRICT OF CALIFORNIA
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    20
         UNITED STATES OF AMERICA,                    Case No. 2:09-CV-02445-KJM-EFB
    21
                           Plaintiff,
    22
                     v.                                        1         1           t'       ~   1
    23                                                 t           i
         SIERRA PACIFIC INDUSTRIES, et al.,
    24
                           Defendant.                 Date:        November 21, 2014
    25                                                Time:        10:00 a.m.
                                                      Dept:        Courtroom 3, 15th floor
    26                                                Judge:       Hon. Kimberly J. Mueller

    27
         AND ALL RELATED CROSS-ACTIONS.
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            DEFENDANTS'NOTICE OF MOTION AND MOTION TO SET ASIDE A JUDGMENT FOR FRAUD ON THE COURT
         Case 2:09-cv-02445-WBS-AC Document 593 Filed 10/09/14 Page 2 of 6

     1              T4 THE COURT,ALL PARTIES, AND THEIR COUNSEL OF RECORD:

     2              PLEASE TAKE NOTICE that on November 21, 2014, at 10:00 a.m., or as soon thereafter

     3   as this Court may order, in Courtroom 3, 15th floor ofthe United States District Court, Eastern

     4   District of California, located at 501 I Street, Sacramento, California 95814, before the Honorable

     5   Kimberly J. Mueller, United States District Judge, Defendants Sierra Pacific Industries ("Sierra

     6   Pacific"), W.M. Beaty &Associates,Inc.; Ann McKeever Hatch, as Trustee of the Hatch 1987

     7   Revocable Trust; Leslie Walker, individually and as Trustee of the Brooks Thomas Walker Trust,

         the Susie Kate Walker Trust, and the Della Grace Walker Trusts; Brooks Walker, III, individually

     9   and as Trustee of the Clayton Brooks Danielson, the Myles Walker Danielson, and the Benjamin

    10   Walker Burlock Trust, and the Margaret Charlotte Burlock Trust; Wellington Smith Henderson,

    11   Jr., as Trustee ofthe Henderson Revocable Trust; John C. Walker,individually and as Trustee of

    12   the Della Walker Van. Loben Sels Trust for the issue of John Walker; Jennifer Walker,
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a   13   individually and as Trustee ofthe Emma Walker Silverman Trust and the Max Walker Silverman
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Q   14   Trust; Lindsey Walker, individually and as Trustee of the Reilly Hudson Keenan and Madison

~   15   Flanders Keenan Trust, aka Lindsey Walker-Silverman; Eunice E. Howell, individually and doing

z   16   business as Howell's Forest Harvesting Company; Charles C. Henderson, as Trustee ofthe

Q   17   Charles C. and Kristen Henderson Revocable Trust; James A. Henderson; Joan H. Henderson;

    18   Kirby Walker; Brooks Walker, Jr., as Trustee ofthe Brooks Walker, Jr. Revocable Trust and the

    19   Della Walker Van Loben Sels Trust for the Issue of Brooks Walker, Jr.; Richard L. Greene, as

    20   Trustee ofthe Hatch Irrevocable Trust; Mark W. Henderson, as Trustee of the Mark W.

    21   Henderson Revocable Trust; and. Elena D. Henderson (collectively,"Defendants") will, and

    22   hereby do, move for relief from judgment under FRCP Rule 60(d)(3) and under the Court's

    23   inherent power for fraud upon the Court.

    24              This motion is brought on the grounds that the United States' prosecution ofthis action

    25   constituted a fraud upon the Court, as the United States attorneys and the Moonlight Fire

    26   investigators and their counterparts in co-pending state actions, operating under a joint

    27   prosecution agreement with the United States, advanced a corrupt and tainted prosecution,

    28   violated Defendants' due process rights, and engaged in investigatory and prosecutorial
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           DEFENDANTS'NOTICE OF MOTION AND MOTION TO SET ASIDE A JUDGMENT FOR FRAUD ON THE COURT
         Case 2:09-cv-02445-WBS-AC Document 593 Filed 10/09/14 Page 3 of 6

          misconduct outlined more fully in the accompanying Memorandum ofPoints and Authorities and

     2   supporting declarations, but which included among other things: presenting false evidence to the

     3 I Defendants and the Court and/or concealing material evidence from the Defendants and the

     4   Court, advancing arguments to the Court premised on that false evidence, or for which material

     5   evidence had been withheld, and obtaining Court rulings based thereon; preparing key Moonlight

     6   Fire investigators for depositions, and allowing them to repeatedly give false testimony about the

     7   most important aspects of their investigation; and by failing to disclose the facts and

     8   circumstances associated with the Moonlight Fire lead investigator's direct financial interest in

     9   the outcome ofthe investigation arising from an illegal bank account that has since been exposed.

    10   and terminated. This misconduct was perpetrated by officers of the court and ultimately tampered

    ll   with the administration ofjustice, in a manner that wronged not only Defendants, but this Court

    12   and. the public. The government's misconduct compromised the judicial process and amounts to
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a   13   an unconscionable scheme designed to improperly influence the Court's decisions inthis case.
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Q   14               Defendants, therefore, request that if the Court finds that a fraud has been perpetrated

~   15   upon this Court, that: the Court set aside the judgment in this case, entered on July 18, 2012; enter

z   16   a terminating sanction dismissing the action; set aside the Settlement Agreement entered between
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Q   17   the parties; and award any other relief that the Court deems just and proper.

    18               Although Defendants' counsel. is aware ofthe requirement that they "engage in a pre-

    19   filing meet and confer to discuss thoroughly the substance of the contemplated motion and any

    20   potential resolution," Defendants did not meet and confer with the United States regarding the

    21   filing of this motion. Defendants' reasons for this are threefold. First, given the substance ofthe

    22   instant motion, Defendants believe that any effort to meet and confer would be futile, not only

    23   because the motion outlines facts showing that the very attorneys with whom Defendants would

    24   theoretically meet and confer perpetrated a fraud upon the Court, but also because Plaintiffs do

    25   not have the ability or authority to offer the relief that Defendants seek through this motion. That

    26   is, only this Court, to the extent a fraud was perpetrated upon it, and not the government, has the

    27   power to set aside the judgment, set aside the Settlement Agreement, and dismiss the action in its

    28   entirety.
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            DEFENDANTS' NOTICE OF MOTION AND MOTION TO SET ASIDE A JUDGMENT FOR FRAUD ON THE COURT
         Case 2:09-cv-02445-WBS-AC Document 593 Filed 10/09/14 Page 4 of 6


                  Second, Defendants believe that it would not be appropriate to meet and confer with lead

     2    prosecutor AUSA Kelli Taylor and others in the United States Attorneys' Office during the

     3    potential pendency of any investigation that the Department of Justice's Office of Professional

     4    Responsibility("OPR")may choose to conduct regarding Plaintiffs in this case and the related

     5    state action.

     6            Third, and finally, Defendants do not believe that it would be appropriate to meet and

     7    confer with the federal prosecutors on this motion because ofthe nature of the arguments

     8    contained herein, including conclusions reached in former AUSA Robert Wright's Declaration,

     9    which outlines potential criminal liability arising from the conduct of certain investigators and

    10    prosecutors. Defendants believe that they are arguably legally prohibited from suggesting to the

    11    federal prosecutors that there is any relief the federal prosecutors could offer, or that there are any

    12    circumstances under which Defendants would not file the motion. Furthermore, Defendants
a   13    believe it would be improper to place the prosecutors in what could be the untenable position of
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    14    negotiating from the standpoint oftheir own personal and professional interests rather than in the
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    15    interests ofthe United States.
w   16            While Defendants have appropriately styled this request as a "motion" for relief under
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O   17    Rule 60(d)(3)in view of the Court's retained jurisdiction over this action, the form in which the
Q
    18    instant request for relief is made(whether it be a motion or an independent action) is of little

    19    import. Because a court's power to set aside a judgment for fraud on the court arises from the

    20    long-recognized "historic power [in] equity to set aside fraudulently begotten judgments," the

    21    substance of a party's filing related to fraud on the court controls over its form. Hazel-Atlas

    22    Glass Co. v. Hartford-Empire Co., 322 U.S. 238, 245 (1944); lI.S. v. Estate ofStonehill, 660 F.3d

    23    415, 443 (9th Cir. 2011)("Courts have inherent equity power to vacate judgments obtained by

    24    fraud.")(citing Chambers v. NASCO,Inc., 501 U.S. 32, 44(1991)); US. v. Buck, 281 F.3d 1336,

    25 I, 1342(10th Cir. 2002)("no purpose would be served by denying..,relief on the ground that the

    26    motion misstyled the plea for relief...[t]he substance of the plea should control, not the label");

    27    Wright &Miller, 1] Fed. Prac. & Proc. § 2868(3d ed.)("A party is not bound by the label used

    28    in the party's papers. A motion may be treated as an independent action or vice versa as is
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            DEFENDANTS'NOTICE OF MOTION AND MOTION TO SET ASIDE A JUDGMENT FOR FRAUD ON THE COURT
     Case 2:09-cv-02445-WBS-AC Document 593 Filed 10/09/14 Page 5 of 6


 1 ~ appropriate.")

 2              Defendants understand that any careful assessment of the material presented with this

 3    motion will require significant focused attention, and may warrant the presentation offurther

 4   testimony or evidence. Defendants wish to make known to the Court that they, in concept,

 5   believe that the circumstances of this motion may warrant, in the Court's sound discretion., the

 6   appointment of special master under the Court's inherent power and/or under FRCP Rule 53.

 7              Defendants' motion is based on this notice of motion and motion; memorandum of points

 8   and authorities; declarations of William R. Warne, Robert Wright, Eugene Chittock, Richard

 9   Linkert, Daniel Kim, and Katherine Underwood, and all exhibits thereto; a request for judicial

10   notice, a request for leave to exceed page limits, a request for leave to file certain materials under

11   seal, and all previous filings and records in this action or matters of which the Court may take

iz   judicial notice and on such other matters as may be presented to the Court at the tune of hearing

13   pursuant to this Court's discretion. This motion might also be supported by Defendants'

14   extensive filing with OPR("OPR Brief'), which Defendants can provide to the Court should the

15   Court request it. However, given the highly sensitive nature ofthe OPR Brief, and the passibility

16   that an OPR investigation maybe ongoing, Defendants have not included that brief with this

17   Motion. Defendants will do so as directed by this Court.

18   DATED: October 9, 2014                       ~•          :.. ~

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20                                                               /s/ William R. Wayne
                                                                  WILLIAM R. WARNS
21                                                        Attorneys for Defendant/Cross-Defendant
                                                             SIERRA PACIFIC INDUSTRIES
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       DEFENDANTS'NOTICE OF MOTION AND MOTION TO SET ASIDE A JUDGMENT FOR FRAUD ON THE COURT
          Case 2:09-cv-02445-WBS-AC Document 593 Filed 10/09/14 Page 6 of 6

      1   DATED: October 9,2014                     MATHENY SEARS LINKERT &JAIME

     2
                                                    By: /s/ Richard Linkert(as auth'd on 10/8/14
     3                                                             RICHARD LINKERT
                                                         Attorneys For Defendants W.M.BEATY &
     4~                                                 ASSOCIATES,INC. AND ANN MCKEEVER
                                                       HATCH,as Trustee ofthe Hatch 1987 Revocable
     5                                                                   Trust, et al.
     6
          DATED: October 9,2014                     RUSHFORD & BONOTTO,LLP
     7

     8
                                                    By: /s/Phillip Bonotto (as auth'd on 10/8/14
     9~                                                              PHILLIP BONOTTO
                                                       Attorneys for Defendant, EiINICE E. HOWELL,
     10                                                    INDIVIDUALLY and d/b/a HOWELL'S
                                                                   FOREST HARVESTING
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